           Case 4:18-cr-00178-JM Document 23 Filed 11/15/18 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       4:18CR00178 JM
                                                      )
JAMES ROBINSON                                        )

           UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION FOR
                   TEMPORARY RELEASE FROM CUSTODY

       Comes now the United States of America by and through its attorney Cody Hiland, United

States Attorney for the Eastern District of Arkansas and Stephanie Mazzanti, Assistant United

States Attorney for said district and in response to defendant James Robinson’s motion for

temporary release from custody states as follows:

       On March 26, 2018, United States Magistrate Judge Joe J. Volpe entered an order of

detention finding by clear and convincing evidence that the defendant is a danger to the

community, and no condition or combination of conditions will assure its safety. (DCD 15).

The Court noted the defendant’s lengthy criminal history involving alcohol abuse and violent

behavior. Id.      The defendant has multiple felony convictions, including convictions for

battery, aggravated assault, terroristic threatening 1st degree, and possession of firearms by

certain persons.    The Court noted a 2014 conviction for assault on a family or household

member, stating, “I am also uncomfortable with the proposed release plan which would place

Mr. Robinson in the home of his ex-wife, who has taken out several orders of protection against

the Defendant in the past.” Id.     From 2010 through 2014, the defendant was the subject of

many incident reports involving domestic disputes with his ex-wife.      The Court also found by a

preponderance of the evidence that the defendant is a risk of flight, considering the defendant’s


                                                 1
           Case 4:18-cr-00178-JM Document 23 Filed 11/15/18 Page 2 of 3




history of fleeing and failing to appear for court. Id.

       The defendant requests permission for his ex-wife to pick him up from Bowie County

Correctional Facility in Texarkana, Texas, and escort him to the funeral services for the his

grandfather in Little Rock on November 16 and 17, 2018. This is the same ex-wife referenced

by Judge Volpe in his order of detention. In light of the evidence presented at the detention

hearing regarding the defendant’s history of violence, the findings that he is a danger to the

community and a flight risk, and the issues regarding the proposed third-party custodian, the

United States objects to the defendant’s motion.


       WHEREFORE, the United States requests that defendant’s motion for temporary release

from custody be denied.


                                                       Respectfully Submitted,

                                                       CODY HILAND
                                                       United States Attorney

                                                       /s/Stephanie Mazzanti
                                                       STEPHANIE MAZZANTI
                                                       AR Bar Number 2006298
                                                       Assistant U.S. Attorney
                                                       P. O. Box 1229
                                                       Little Rock, AR 72203
                                                       Telephone: 501-340-2600
                                                       E-mail: Stephanie.Mazzanti@usdoj.gov




                                                   2
          Case 4:18-cr-00178-JM Document 23 Filed 11/15/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 15th day of November, 2018, a copy of the foregoing was sent
by electronic notification to defense counsel.


                                                    /s/Stephanie Mazzanti
                                                    STEPHANIE MAZZANTI




                                                3
